












Affirmed and Memorandum Opinion filed July 29, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00046-CR

____________

&nbsp;

LONNIE RAY WILLIAMS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause No. 1160557

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a plea of guilty to murder without an
agreed recommendation on punishment. &nbsp;After a pre-sentence investigation, on January
7, 2010, the trial court sentenced appellant to confinement for forty-six years
in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;Appellant
filed a timely notice of appeal.

Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit. The brief meets the requirement
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by presenting
a professional evaluation of the record and demonstrating why there are no
arguable grounds to be advanced. See High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit. &nbsp;Further, we find no reversible error in
the record. &nbsp;We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review. &nbsp;See Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex.
Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Boyce. 

Do Not Publish — Tex. R. App. P. 47.2(b).





